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                    Exhibit Q
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI


BACKPAGE.COM, LLC,                           )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )           No. 4:17 CV 1951
                                             )
JOSHUA D. HAWLEY, in his official            )
capacity as Attorney General of the State of )
Missouri,                                    )
                                             )
               Defendant.


                        MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff Backpage.com, LLC “(Backpage”) moves pursuant to Fed. R. Civ. P. 65 for a

preliminary injunction, enjoining Missouri Attorney General Joshua D. Hawley from enforcing

the Civil Investigative Demand served on Backpage and its CEO Carl Ferrer, and from further

pursuing or threatening other action against Backpage.

       The motion is based on Backpage’s statutory immunity from state law claims based on its

activities as an online publisher and distributor of third-party content, and on Backpage’s

constitutional rights under the First, Fourth, and Fifth Amendments to the United States

Constitution.

       As further explained in the accompanying Memorandum, Attorney General Hawley has

taken actions that, unless enjoined, will chill, inhibit, and prevent expressive activities protected

by the First Amendment of the United States Constitution. Because the activities that Attorney

General Hawley targets are expressly immunized by federal law from any state action, civil or

criminal, Attorney General Hawley’s investigation and legal action cannot be legally justified

and must be enjoined.




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       A 1996 federal law makes it “the policy of the United States” to “preserve the vibrant and

competitive free market that presently exists for the Internet and other interactive computer

services, unfettered by Federal or State regulation.” 47 U.S.C. § 230(b)(2). This act—Section

230 of the Telecommunications Act of 1996, 47 U.S.C. § 230 (“Section 230”; sometimes known

as the Communications Decency Act because of the subchapter in which it appeared)—totally

immunizes interactive computer services with respect to their publishing or distributing of

content created by others, and with respect to their self-policing of their services, which Section

230 permits and encourages. In hundreds of cases, courts have applied and enforced Section

230, including multiple cases regarding Backpage, one of which was decided in this district. See

M.A. v. Village Voice Media Holdings, LLC, 809 F.Supp.2d 1041 (E.D. Mo. 2011). Because

section 230 absolutely immunizes Backpage’s conduct in carrying third-party content, and taking

protective review and selection activities with respect to it, it cannot be liable under state law

based on those activities.

       Attorney General Hawley, however, has publicly announced that he seeks to investigate

and prosecute Backpage, under the Missouri Merchandising Practices Act, for those protected

activities, and that his goal is to shut it down. He initiated such actions with a Civil Investigative

Demand directed to Backpage, and a preemptive Petition to Enforce it, even before Backpage’s

response was due. His actions clearly threaten the First Amendment rights of Backpage and its

users, and therefore should be enjoined. Backpage.com v. Dart, 807 F.3d at 230, 235 (7th Cir.

2015) (upholding injunction against sheriff’s effort to “shut down” and “crush” Backpage by

threatening credit card companies as a prior restraint and “censorship . . . prohibited by the First

Amendment”; “[A] public official who tries to shut down an avenue of expression of ideas and

opinions through actual or threatened imposition of government power or sanction is violating




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the First Amendment.” ). See also Major League Baseball v. Crist, 331 F.3d 1177 (11th Cir.

2003) (“[I]nvestigations premised solely upon legal activity are the very type of ‘fishing

expeditions’ that were the target of Justice Holmes’s assault in American Tobacco.”; “[I]t is clear

that an investigation predicated solely upon legal activates does not pass muster under any

standard.”) (emphasis in original).

       For the reasons more fully stated in the Complaint and accompanying Memorandum,

Backpage requests that the Court issue a preliminary injunction, enjoining Missouri Attorney

General Hawley from enforcing the Civil Investigative Demand served on Backpage and its

CEO Carl Ferrer, and from further pursuing or threatening other action against Backpage, and

that it provide for such other and further relief as are just and proper in the circumstances.

       DATED: July 27, 2017.

                                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 27, 2017, the foregoing was filed electronically with the
Clerk of Court, and, additionally served in the following manner on Defendant Joshua Hawley
and his representatives:

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